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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                        WEST PALM BEACH DIVISION

                        CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

        Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.

  ____________________________________/


                   PLAINTIFF’S SUPPLEMENTAL PLEADING
                 REGARDING SPECIAL MASTER NOMINATIONS

        On September 9, 2022, the above-captioned parties filed a joint

  submission to the Court regarding potential Special Master candidates

  proposed by each party. [ECF No. 83]. That submission indicated to the Court

  that our position on each other’s candidates would be provided by September

  12, 2022.

        Plaintiff objects to the proposed nominees of the Department of Justice.

  Plaintiff believes there are specific reasons why those nominees are not

  preferred for service as Special Master in this case.

        As the Court’s Order [ECF No. 64] required a list of proposed Special

  Master candidates but did not specify whether that is to include specific
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  advocacy as to why certain nominees are or are not suitable to serve as Special

  Master, Plaintiff has construed that Order in a limited fashion.

        Plaintiff also submits it is more respectful to the candidates from either

  party to withhold the bases for opposition from a public, and likely to be widely

  circulated, pleading. Therefore, Plaintiff asks this Court for permission to

  specifically express our objections to the Government’s nominees only at such

  time that the Court specifies a desire to obtain and consider that information.

  Such information could then be provided in camera or pursuant to whatever

  procedure the Court deems most efficient and appropriate. Consistent with

  that approach, Plaintiff is willing to provide our specific rationale for

  supporting our nominees if and when the Court so orders.




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  Dated: September 12, 2022                   Respectfully submitted,

   Lindsey Halligan                            By: /s/ Christopher M. Kise
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                                               Counsel for Plaintiff
                                               Donald J. Trump




                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 12, 2022, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record via

  transmission of Notices of Electronic Filing generated by CM/ECF.

                                        /s/ Christopher M. Kise
                                       Christopher M. Kise




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